           Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 1 of 24




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       Criminal No. 19-cr-10063-DJC
                                               )
RANDALL CRATER,                                )
                                               )
                         Defendant             )

                       GOVERNMENT’S TRIAL BRIEF AND
             OMNIBUS RESPONSE TO DEFENDANT’S MOTIONS IN LIMINE

       The government submits this Trial Brief and Omnibus Response to Defendant’s Motions

in Limine in anticipation of the trial scheduled to begin on July 11, 2022.

       Section I contains a brief factual and procedural background of the case. Section II contains

the government’s responses to the defendant’s motions in limine (Dkt. Nos. 128, 130, 132-140).

Section III highlights several additional evidentiary issues that the government anticipates may

arise at trial and requests conditional rulings from the Court with respect to each issue.

       Additionally, the government has attached to this filing the following exhibits:

            Exhibit A – Stipulations agreed to by the parties in a form suitable for presentation to

             the jury;

            Exhibit B – List of prospective government witnesses;

            Exhibit C – List of government exhibits to be introduced at trial1;

            Exhibit D – Proposed voir dire;


       1
          The government will work with counsel for the defendant to determine which exhibits
are contested and uncontested. Per the Court’s instructions, the parties will then mark the
uncontested exhibits with numbers and provide a copy to the Court. The contested exhibits will
be marked with letters, and the parties will provide the Court a list of the contested exhibits that
identifies the party objecting, the basis, and the response to that objection.

                                                   1
           Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 2 of 24




            Exhibit E – Proposed jury instructions2; and

            Exhibit F – Expert report of Ms. Pamela Clegg, the Vice President of Financial

             Investigations at CipherTrace, Inc.

For the convenience of the Court, the government is providing all of these materials in a single

filing. The government will also file them separately on the docket at the Court’s request.

I.     CASE BACKGROUND

       On January 18, 2022, the grand jury returned an eight-count Superseding Indictment

charging Randall Crater (“the defendant”) with wire fraud (counts one through four; 18 U.S.C.

§ 1343), unlawful monetary transactions (counts five through seven; 18 U.S.C. § 1957), and

operating an unlicensed money transmitting business (count eight; 18 U.S.C. § 1960(a) and

(b)(1)(B)). The Superseding Indictment alleges that the defendant was the principal operator of

My Big Coin Pay, Inc. (“My Big Coin”), a purported virtual currency company that sold My Big

Coin virtual currency (“Coins” or “MBC”). The basic premise of the scheme was to use

misrepresentations to solicit potential investors in My Big Coin and purchasers of MBC. This

occurred from approximately 2014 through at least 2017, and the misrepresentations were made

through the My Big Coin website, social media, email, and direct meetings.                    These

misrepresentations included, for example, that MBC was a cryptocurrency (i.e., a virtual currency

that utilized cryptography and blockchain technology), was backed by gold reserves, had a

partnership with Mastercard, and could be bought, sold, or traded on any identifiable market.

These misrepresentations were made and caused to be made by the defendant in verbal statements,




       2
         A “Word.doc” version will also be provided to the Court and counsel for the defendant
via email.

                                                   2
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 3 of 24




emails, and on his social media, as well as on the My Big Coin website and various social media

platforms.

       Individuals from Massachusetts and elsewhere invested in My Big Coin and purchased

MBC. The purchasers were in many instances directed to the My Big Coin Exchange, which

purported to reflect the current trading volumes and prices of MBC. The My Big Coin Exchange,

however, was not registered as a currency exchange with the U.S. Treasury. Both the investors

and purchasers were, in many instances, directed to wire funds to bank accounts controlled by the

defendant, including to at least one account opened in the name of the defendant’s sister. The

funds were thereafter transferred to one or more other accounts controlled by the defendant and

used primarily for the defendant’s personal expenses.

       Defendant misappropriated investor funds and used the funds for his own personal gain,

including to purchase homes, lavish vacations, and other luxury goods. My Big Coin never

participated in an IPO or went public and the fraudulent “shares” had no actual value. As a result

of the scheme, investors were left holding Coins and/or shares that had no actual value and could

not be transferred, exchanged, or used for any legitimate purpose. Over the course of the scheme,

at least 40 individuals were defrauded out of at least $6 million.

II.    OMNIBUS RESPONSE TO DEFENDANT’S MOTIONS IN LIMINE

       A. Government’s Response to Defendant’s Motion in Limine to Require the
          Government to Present a Proffer of Proof on Co-Conspirator Declarations and
          Conspiracy [Dkt. No. 128]

       “Under Rule 801(d)(2)(E), an out-of-court statement made by a party’s co-conspirator

during and in furtherance of the conspiracy does not constitute inadmissible hearsay, even when

admitted for its truth.” United States v. Pena, 24 F.4th 46, 61 (1st Cir. 2022) (citing United States

v. Petrozziello, 548 F.2d 20, 23 (1st Cir. 1977) and Fed. R. Evid. 801(d)(2)(E)).             Under



                                                 3
          Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 4 of 24




Petrozziello, the Court must determine whether, “(1) when the statement was made, the declarant

was a member of a conspiracy, (2) the defendant was also (or later became) a member of the same

conspiracy, and (3) the statement was made in furtherance of that conspiracy.” United States v.

Weadick, 15 F.4th 1, 8 (1st Cir. 2021) (citing United States v. Saccoccia, 58 F.3d 754, 778-79 (1st

Cir. 1995)); accord Pena, 24 F.4th at 61. A Petrozziello finding is made under a “preponderance

of the evidence” or “more likely than not” standard, Petrozziello, 548 F.2d at 23, after

consideration of the totality of the evidence, United States v. Mitchell, 596 F.3d 18, 23 (1st Cir.

2010).

         The Court must make that Petrozziello inquiry at the close of all evidence. See, e.g., United

States v. Ciampaglia, 628 F.2d 632, 638 (1st Cir. 1980) (holding that the Petrozziello finding is to

be made “at the close of all the evidence” and noting that “requiring trial courts to delay

Petrozziello rulings until the conclusion of all the evidence would not create any significant

additional demands or difficulties”); accord United States v. Mangual-Garcia, 505 F.3d 1, 8 (1st

Cir. 2007) (“[T]his circuit requires the court to delay its final Petrozziello determination until the

close of all evidence.”). Thus, to the extent the defense objects to the admissibility of co-

conspirator statements offered under Fed. R. Evid. 801(d)(2)(E), the Court may nevertheless

conditionally admit them and, at the close of all the evidence, make a final determination out of

the hearing of the jury. Ciampaglia, 628 F.2d at 638.

         Accordingly, a pretrial Petrozziello ruling is inappropriate. Any such ruling is also

unnecessary because the defendant has failed to identify any specific statements the admission of

which would depend on a finding under Petrozziello. Nevertheless, in an effort to provide the

Court additional context, the government below provides additional background of the co-

conspirators and examples of their statements that the government anticipates introducing at trial.



                                                  4
           Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 5 of 24




Most, if not all, of these statements are admissible regardless of any later Petrozziello ruling

because they are either the defendant’s own statements and/or not offered for the truth of the matter

asserted.3

       1. Identity of Conspirators and Summary of Anticipated Proof of Petrozziello
          Factors

       The government has alleged the existence of a scheme involving the defendant as well as

“Individuals 1 and 2” and “others.” Superseding Indictment ¶ 8. The government provides the

following summary proffer of anticipated evidence as to those individuals.

                   a. Defendant

       Defendant is the creator and founder of My Big Coin, Inc. and related entities. Defendant

held himself out as the main face of My Big Coin, drafted My Big Coin promotional materials and

social media, and received the vast majority of the proceeds of the scheme. Defendant defrauded

investors by using false representations to sell MBC and shares in My Big Coin. He also marketed

MBC to investor-victims, telling potential investors that MBC was a viable cryptocurrency backed

by gold, oil and mineral reserves, other cryptocurrencies, and other assets. Investors were also

told that MBC could be exchanged and traded for cash or other cryptocurrencies.

                   b. Individual 1

       Individual 1 was a resident of California who served as Chief Executive Officer of My Big

Coin. Most investors were introduced to the scheme by Individual 1 and others, who marketed



       3
           For example, individuals providing wiring information is being offered as proof of the
act itself, not proof that the wiring information was accurate. As another example, the social
media postings are not hearsay because they are being offered to show that the statements were
made, not to prove the truth of the assertions in the social media posts. See Fed. R. Evid. 801(c),
Advisory Committee’s Note (“If the significance of an offered statement lies solely in the fact
that it was made, no issue is raised as to the truth of anything asserted, and the statement is not
hearsay.”).

                                                 5
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 6 of 24




Coins to potential investors, using in-person meetings, social media, and e-mail. When a person

wanted to invest in Coins, they would be given instructions for sending or wiring money for the

investment by Individual 1 and others. Once the investor wired the funds, Individual 1 would

email My Big Coin’s “support” with the total investment, “price” of coins, and number of coins

purchased. Thus, while investors were told they could track their Coin purchases and the

fluctuating value of Coins, in reality, defendant and his co-conspirators manually tracked Coin

“purchases” and information about funds from investors. In addition, investors were told that the

price of Coins fluctuated based on trading in Coins and were directed to the daily trading price on

the My Big Coin website. However, this “price” was, like the user accounts, manually set by

defendant and his co-conspirators. Admissible co-conspirator statements by Individual 1 include

the following:

 Date            Bates                              Description
 3/3/2014        TLF-0000000261                     Email from Individual 1 to potential
                                                    investor: “Each coin is backed with gold!
                                                    So, our currency and accounts are backed
                                                    better than the FDIC backs your money in
                                                    the bank!”
 4/7/2014        TLF-0000000235                     Email from Individual 1 to investor with
                                                    Wiring Information

 8/6/2014        DOJ-GOOG-0000077344                Email from Individual 1 to co-conspirator
                                                    confirming that he will send Lynch the USA
                                                    wire info
 8/6/2014        CFTC_JML_001238                    Email from Individual 1 to investor with
                                                    Wells Fargo Greyshore information
 12/10/2015      DOJ-0000410144                     Email from Individual 1 to investor:
                                                    “calculus for ‘current value’ I believe is up
                                                    to ‘us’ and not 100% math algoyhythm”

                   c. Individual 2

       Individual 2 was a resident of Michigan who promoted My Big Coin and solicited potential

investors. Defendant and Individual 2 were the primary authors of the false and fraudulent


                                                6
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 7 of 24




marketing materials and had some direct contact with investors. One of the government’s

witnesses, Marcus Gorby, is expected to testify that Facebook accounts for My Big Coin Auctions,

My Big Coin Exchange, and My Big Coin Pay were all registered to him. Additionally, Gorby

will testify that Individual 2 and defendant caused Gorby to draft the information that was posted

to the various My Big Coin Facebook sites.

       Examples of admissible statements caused to be made by defendant and Individual 2

include the following:

 Date           Bates                               Description
 1/23/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today current value is $ 23.64”
 1/25/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today current value is $ 23.87”
 1/27/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today current value is $ 23.87”
 1/28/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today current value is $ 28.87”
 1/31/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “My Big Coin was launched so anyone with
                                                    an email account can send or receive
                                                    #MyBigCoin (MBC). Current $28.87 USD”
 2/4/2014       DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today #MyBigCoin (MBC). Current
                                                    Value $31.02 USD”
 2/8/2014       DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today #MyBigCoin (MBC). Current
                                                    Value $32.26 USD”
 2/15/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today #MyBigCoin (MBC). Current
                                                    Value $33.61 USD”
 2/21/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today #MyBigCoin (MBC). Current
                                                    Value $38.66 USD”
 2/27/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today #MyBigCoin (MBC). Current
                                                    Value $41.39 USD”
 2/28/2014      DOJ-CFTC-000000001                  @MyBigCoin Facebook page stating that
                                                    “Today #MyBigCoin (MBC). Current
                                                    Value $47.56 USD”


                                                7
      Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 8 of 24




2/28/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Major announcements coming out of
                                         My Big Coin in the next 24 hours please
                                         stay tuned…”
3/6/2014    DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “The Wait is Over!!! Officially... My Big
                                         Coin has Entered into a Contract where all
                                         My Big Coin's will be Backed 100% by
                                         Gold.”
3/6/2014    DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $52.88 USD”
3/15/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $57.99 USD”
3/22/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $65.89 USD”
3/31/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $70.89 USD”
4/10/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $73.89 USD”
4/19/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $76.57 USD”
5/2/2014    DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $91.32 USD”
5/21/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $102.13 USD”
9/7/2014    DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $111.66 USD”
11/8/2014   DOJ-CFTC-000000001           @MyBigCoin Facebook page stating that
                                         “Today #MyBigCoin (MBC). Current
                                         Value $121.38 USD”
9/23/2015   FINRA-0000000070             The My Big Coin website stating: “Shop in
                                         any store that accepts [Coins]; Transfer to
                                         anyone; and Trade [Coins] on an exchange
                                         market.”
10/5/2015   WebCap-0000000084            John     Roche    commented       on    the
                                         @MyBigCoin Facebook page stating that
                                         “My big coin 500 dollars last buy today”

                                     8
           Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 9 of 24




       In light of the applicable caselaw and the foregoing proffer, the Court should provisionally

admit the co-conspirator statements of Individuals 1 and 2.

       B. The Court Should Admit the Expert Testimony of Pamela A. Clegg and Deny the
          Defendant’s Motion in Limine to Preclude the Testimony of Paemla A. Clegg or,
          in the Alternative, for a Daubert Hearing [Dkt. No. 130]

       The government has identified and disclosed to the defense an expert witness: Pamela

Clegg, the Vice President of Financial Investigations at CipherTrace, Inc. The government intends

to offer Ms. Clegg’s testimony in the government’s case-in-chief. The government provided

counsel for the defendant with expert reports4 which contain Ms. Clegg’s background information

and a summary of her anticipated testimony.

       Under Rule 702, an expert may testify if his or her “scientific, technical, or other

specialized knowledge will help the trier of fact to understand the evidence or to determine a fact

in issue.” Fed. R. Evid. 702. The party that proffers expert testimony bears the burden of showing

that it is admissible. See Bourjaily v. United States, 483 U.S. 171, 175-76 (1987). The trial court

must also find that the proposed testimony is both relevant and reliable prior to admitting it into

evidence. Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589-90 (1993); see Kumho Tire

Co., Inc. v. Carmichael, 526 U.S. 137, 141 (1999). Specifically, the trial judge has “the task of

ensuring that an expert’s testimony both rests on a reliable foundation and is relevant to the task

at hand.” Daubert, 509 U.S. at 597.

       Rules 401, 402, and 403 likewise provide that relevant evidence is admissible when it tends

to make the existence of any fact that is of consequence more or less probable than it would be


       4
        For the Court’s consideration and convenience, the government has included a copy of
Ms. Clegg’s most recent expert report in this case in Exhibit F.

                                                9
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 10 of 24




without the evidence, but may be excluded if its probative value is substantially outweighed by,

among other things, the danger of unfair prejudice, confusion of the issues, and misleading the

jury.

        Here, Ms. Clegg is well-qualified to provide relevant expert testimony. She is a leading

expert on cryptocurrency investigations and has previously testified in other cases. Ms. Clegg has

more than 15 years of diplomatic and private sector experience working on cutting-edge national

security issues, including money laundering and fraud investigations relating to counterterrorism,

counternarcotics, security, and nation building. Ms. Clegg is a Certified Anti-Money Laundering

Specialist (CAMS). She has created and authored multiple cryptocurrency training courses and

taught thousands of students around the world in the area of cryptocurrency investigations and

compliance. Ms. Clegg has conducted trainings and given presentations internationally on

cryptocurrency and financial crimes, including to Interpol, Europol, Department of Treasury,

Department of Homeland Security and Department of Justice. She created and implemented

certification courses that are attended by public and private sector investigators, compliance

officers, and managers. The defendant’s attacks on Ms. Clegg’s purported lack of qualifications

(and claims about her arguable bias/credibility) may be topics appropriate for cross-examination.

If anything, these claims would go to the weight of her testimony, but not its admissibility.

        Ms. Clegg’s testimony will be relevant to the facts and issue because it will help the jury

understand virtual currency and cryptocurrency generally. Fed. R. Evid. 702(a) (permitting the

use of expert testimony where the expert’s “specialized knowledge will help the trier of fact to

understand the evidence or to determine a fact in issue”). Like other specialized technologies, the

workings of cryptocurrency (e.g., how it utilizes cryptography and blockchain technology) is not

widely understand to the lay person, such that expert testimony is useful. See, e.g., United States



                                                10
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 11 of 24




v. Saini, 23 F.4th 1155 (9th Cir. 2022) (expert testimony permitted regarding the “dark web” and

obtaining personal information on the “dark web”); United States v. Chiaradio, 684 F.3d 265, 278

(1st Cir. 2012) (expert testimony permitted on “EP2P” and the manual re-creation of “EP2P”

sessions).

       Ms. Clegg’s testimony that is specific to MBC is also highly probative, as she will describe

how she conducted her investigation into MBC and her findings. Ms. Clegg is expected to testify

that she conducted an analysis of MBC’s blockchain, of exchanges that listed MBC, and reviewed

public statements made by MBC social media accounts and individuals associated with MBC.

Based on the blockchain analysis, Ms. Clegg is expected to testify that MBC was not available as

a cryptocurrency from 2014 through June 27, 2017. On June 28, 2017, the genesis block5 of MBC

was created and MBC became available as a cryptocurrency. Ms. Clegg is also expected to testify

that even after MBC was created on June 28, 2017, her analysis revealed multiple abnormalities

that are indicative of fraud. For example, MBC trading was indicative of wash trading, in which

two accounts quickly trade back and forth to make it appear that there is an active market for the

cryptocurrency. Additional abnormalities include MBC’s lack of a variety of users, lack of a

publicly available code, and lack of a publicly available white paper.

       Based on Ms. Clegg’s testimony a reasonable fact finder may conclude that the defendant

sold a non-existent cryptocurrency from 2014 through 2017 and then engaged in fraudulent trading

to make it appear that there was a market for the cryptocurrency. Ms. Clegg’s testimony is highly




       5
         As Ms. Clegg explains in her expert report, and as she will explain to the jury at trial:
“Cryptocurrency is a type of virtual currency that utilizes cryptography to validate and secure
transactions that are digitally recorded on a distributed ledger, such as a blockchain. The first
block on the blockchain is referred to as the ‘genesis block.’ This is the beginning of that
cryptocurrency.” Exhibit F at 5.

                                                 11
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 12 of 24




probative because it goes directly to the manner and means the defendant used to execute the

scheme.

       Lastly, a Daubert hearing is not necessary here because the issues raised by the defendant

are cross-examination topics and would only speak to weight not admissibility. Echevarria v.

Caribbean Aviation Maint. Corp., 841 F. Supp. 2d 565, 569 (D.P.R. 2012); see also United States

v. Diaz, 300 F.3d 66, 76-77 (1st Cir. 2002); Daubert, 509 U.S. at 596 (noting that “vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of proof are

the traditional and appropriate means of attacking shaky but admissible evidence”). Even where

expert testimony was arguably “speculative” it does “not need to be excluded as long as the

opposing counsel has an opportunity for cross-examination in order to expose any weaknesses in

the underpinnings of the expert testimony.” Carrelo v. Advanced Neuromodulation Sys., Inc., 777

F. Supp. 2d 315, 319 (D.P.R. 2011) (citing United States v. Vargas, 471 F.3d 255, 264 (1st Cir.

2006)). As such, the defendant’s motion should be denied and the Court should admit Ms. Clegg’s

testimony.

   C. The Court Should Admit Defendant’s Admissions in the CFTC lawsuit and Deny the
      Defendant’s Motion in Limine to Exclude Admission of Civil Proceedings [Dkt. No.
      132]

       The defendant’s motion to preclude admission of the defendant’s highly probative

admissions in his parallel civil case should be denied. On January 16, 2018, the CFTC filed a

lawsuit in the District of Massachusetts naming as defendants My Big Coin Pay, Inc. and related

entities and individuals, including the defendant. See 18-cv-10077-RWZ, ECF No. 1 (Complaint).

On April 20, 2018, the CFTC filed an Amended Complaint. 18-cv-10077-RWZ, ECF No. 63. The

Amended Complaint alleged that the defendant and others made false and misleading statements

about a purported virtual currency (“My Big Coin”) and in doing so “obtained more than



                                                12
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 13 of 24




approximately $6 million from at least twenty-eight customers . . . through fraudulent

solicitations.” Id. ¶ 1. The defendant responded to the Complaint on November 9, 2018. 18-cv-

10077-RWZ, ECF No. 113 (“Defendant Randall Crater’s Answer to the Amended Complaint”).

The Answer, in which the defendant refers to himself as “Defendant”, included several substantive

admissions that are relevant to and admissible in his criminal case, including:

   -   “Defendant owned My Big Coin (“MBC”) coins and sold some of his MBC coins to
       individuals who paid Defendant by transmitting funds to his designated payees. . . .” Id.
       ¶ 6.

   -   “Defendant admits My Big Coin, Inc. is or was a Nevada corporation, and admits it has
       never registered with the Commodity Futures Trading Commission (“CFTC”).” Id. ¶ 14.

   -   “Defendant admits” that “Barbara Crater Meeks is a resident of Elkin, North Carolina. She
       is Randall Crater’s mother.” Id. ¶ 21.

   -   “Defendant admits Erica Crater is his wife . . . .” Id. ¶ 22.

   -   “Defendant admits Greyshore is an LLC and Defendant is the managing member and
       CEO, admits the LLC has never been registered with the CFTC . . . .” Id. ¶ 23.

   -   “Defendant admits that he had a Greyshore Tech[nology] Linkedin profile. . . .” Id. ¶ 46.

   -   “Defendant admits to texting one or more owners of digital currency in the name of
       MyBigCoin . . . .” Id. ¶ 56.

   -   “Defendant . . . admits Defendant owned My Big Coin coins and sold some of his My Big
       Coins to individuals over the course of 2014 through 2017.” Id. ¶ 60.

   -   “Defendant admits that he owned My Big Coin digital currency coins and sold some of his
       MBC coins to individuals who paid Defendant by transmitting funds to his designated
       payees . . . .” Id. ¶ 62.

   -   “Defendant admits purchasers of digital currency that he owned paid for their purchases
       and sent their payments to accounts”, including accounts in the names of “Greyshore
       Advertisement, Greyshore LLC, Greyshore Technology, Barbara Crater Meeks, and
       Defendant Gillespie.” Id. ¶ 63 (incorporating by reference accounts listed in Amended
       Complaint ¶ 63).

   -   “Defendant admits that he spent money he earned from sales of digital currency he owned.
       Defendant further admits he caused funds from his sale of digital currency he owned to be
       moved from one bank to another . . . .” Id. ¶ 65.

                                                 13
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 14 of 24




       Federal Rule of Evidence 801(d)(2) provides, in relevant part, that a statement is not

hearsay if “[t]he statement is offered against an opposing party and: (A) was made by the party in

an individual or representative capacity; [or] (B) is one the party manifested that it adopted or

believed to be true.” Statements made by an attorney concerning a matter within his employment

may be admissible against the party retaining the attorney. United States v. McKeon, 738 F.2d 26

(2d Cir. 1984); Williams v. Union Carbide Corp., 790 F.2d 552, 555-56 (6th Cir. 1986) (“It is the

general rule that statements made by an attorney concerning a matter within his employment may

be admissible against the party retaining the attorney.”); United States v. Cook, Case No. 16-50,

2018 U.S. Dist. LEXIS 209029, at *23 (D. Del. Dec. 11, 2018) (“[The Court] finds that the

statements of Defendant’s prior counsel at the July 2013 meeting are admissions by an authorized

agent of a party opponent and not hearsay under Rule 801(d)(2)(C) and (D).”).

       Therefore, statement by a lawyer authorized to represent a defendant before a court are

attributable to the defendant and admissible against him. United States v. Pina-Nieves, No. 20-

258 (FAB), 2021 U.S. Dist. LEXIS 252269, at *9 (D.P.R. Dec. 12, 2021); United States v.

Lombard, 72 F.3d 170, 189 (1st Cir. 1995) (explaining that an “attorney's statements may be

imputed to and admitted against his client as a principal under Fed.R.Evid. 801(d)(2)(D)” absent

some other reason to exclude the statements); accord United States v. Amato, 356 F.3d 216, 220

(2d Cir. 2004); see also 2 McCormick On Evid. § 257 (7th ed. 2013) (“The dominant position . . .

is that pleadings shown to have been prepared or filed by counsel employed by the party are prima

facie regarded as authorized by the client and are entitled to be received as admissions.”); 4

Weinstein's Evidence 801-221 (“Once agency, and the making of the statement while the

relationship continues are established, the statement is exempt from the hearsay rule so long as it

relates to a matter within the scope of the agency.”); Laird v. Air Carrier Engine Serv., Inc., 263

                                                14
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 15 of 24




F.2d 948, 953 (5th Cir. 1959) (“An attorney has wide authority in the conduct of litigation. He is

chosen to speak for the client in Court. When he speaks in Court, whether it be on a formal trial or

in an informal pretrial, he speaks for and as the client.”). Accordingly, relevant admissions in the

Answer that was signed on the defendant’s behalf by and through his attorneys are admissible non-

hearsay.

       Additionally, beyond meeting the threshold of admissibility, the CFTC lawsuit and the

Answer are all “susceptible to judicial notice.” Rodi v. S. New England Sch. Of L., 389 F.3d 5,

18–19 (1st Cir. 2004) (citing Fed. R. Evid. 201); see also Kowalski v. Gagne, 914 F.2d 299, 305

(1st Cir.1990) (“It is well-accepted that federal courts may take judicial notice of proceedings in

other courts if those proceedings have relevance to the matters at hand.”). Before requesting

judicial notice of those materials, the government will endeavor to reach a stipulation with the

defendant as to precisely which allegations and responses will be made available to the jury. These

admissions of the defendant should be admitted.

       D. Government’s Response to Defendant’s Motion in Limine to Exclude Criminal
          Record and/or Any Other Bad Act Evidence [Dkt. No. 133] and Defendant’s
          Motion in Limine for Disclosure of Fed. R. Evid. 608(B) and Fed. R. Evid. 609
          Information, if any [Dkt. No. 140]

       The government does not intend to utilize 608(b) evidence in its case in chief. Should the

Defendant testify, the Court should permit the Government, on cross-examination, to impeach his

credibility by admitting a certified copy of the defendant’s 2011 North Carolina conviction for

felony conversion. United States v. Meader, 914 F. Supp. 656, 659 (D. Me. 1996). Pursuant to

FRE 609, the Defendant’s conviction satisfies the conditions for admissibility under Rule

609(a)(2) because it was for a crime of dishonesty. See United States v. Govereh, No. 1:07-CR-

131-JEC, 2010 WL 28565 at *5-*7 & n.7 (N.D. Ga. Jan. 5, 2010) (noting that prior conviction for

scheme to defraud was admissible under Rule 609(a)(2)).

                                                15
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 16 of 24




       E. The Court Should Deny Defendant’s Motion in Limine Regarding Hearsay
          Testimony [Dkt. No. 134]

       As noted above in the government’s response to defendant’s motion at Dkt. No. 128,

district courts in the First Circuit are instructed that when faced with a challenge to the admission

of a co-conspirator hearsay statements, they are to admit the statement provisionally and wait until

the end of trial to make a final ruling. Supra pp 3-4. Nonetheless, the government has listed in its

response to Docket Entry 128 examples of the co-conspirator statements it intends to introduce at

trial and offered a summary proffer showing why these statements are not hearsay. Accordingly,

these and other similar statements by the defendant’s co-conspirators should be admitted.

       F. The Court Should Deny Defendant’s Motion in Limine to Exclude Evidence
          Relating to Personal Expenditures [Dkt. No. 135]

       The Court should deny the defendant’s motion to exclude evidence of personal

expenditures. Courts have routinely held that such evidence is admissible to prove that a diversion

of funds was fraudulent. United States v. Solomonson, 908 F.2d 358, 361 (8th Cir. 1990); United

States v. Brickey, 426 F.2d 680, 685-86 (8th Cir. 1970); see United States v. Hathaway, 798 F.2d

902, 908-09 (6th Cir. 1986); United States v. Brutzman, 731 F.2d 1449, 1452-53 (9th Cir. 1984);

United States v. Knight, 607 F.2d 1172, 1176 (5th Cir. 1979); United States v. Krohn, 573 F.2d

1382, 1388-89 (10th Cir. 1978). Here, the government intends to present evidence that money

investors wired to accounts controlled by the defendant was diverted from My Big Coin and was

instead transferred to pay for personal expenses including, among other things, more than

$330,000 spent on jewelry at the Southampton Jewelry Exchange, and more than $500,000 spent

at Lord and Guy, LLC, an auction house based in Southampton, New York, on antique coins and

jewelry, artwork, decorative figures and a rare stone. The government is entitled to prove that

diversions occurred, and to argue that the personal expenditure evidence is probative that such



                                                 16
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 17 of 24




diversion was fraudulent. In other words, these personal expenditures are probative of the

defendant’s intent in soliciting these funds from investors—precisely so that he could divert the

funds for his personal use.

       G. The Court Should Admit Evidence that the Defendant and My Big Coin Failed to
          File Taxes Because it is Evidence that the Defendant Knew that My Big Coin was
          a Fraudulent Scheme and Deny Defendant’s Motion in Limine to Exclude
          Evidence that Defendant and Others Failed to File Tax Returns [Dkt. No. 136]

       The government has produced to the defense in discovery tax records, including a

Certification of Lack of Record, demonstrating that the Internal Revenue Service does not have

any record of tax documents filed by My Big Coin or the defendant for the years 2013 through

2018. The government intends to introduce this (and other, related) evidence at trial and the

defendant has moved to exclude it. The Court should deny the defendant’s motion and admit this

evidence.

       The failure of My Big Coin and the defendant to file required tax documents is probative

of the defendant’s intent and consciousness of guilt and is “intrinsic” to the crimes charged. United

States v. Epstein, 426 F.3d 431, 439 (1st Cir. 2005) (“[T]he fact that [defendant] did not include

all of his income [on his tax return] suggests that he had knowledge of the fraudulent scheme. The

judge did not abuse his discretion in finding the tax return to be part and parcel of the crime and

properly allowed the evidence as intrinsic to the crime and not governed by Rule 404(b).”); United

States v. Manning, 79 F.3d 212, 218 (1st Cir.1996) (“Rule 404(b), by its very terms, excludes only

extrinsic evidence—evidence of other crimes, wrongs, or acts—whose probative value exclusively

depends upon a forbidden inference of criminal propensity. Evidence intrinsic to the crime for

which the defendant is on trial, accordingly, is not governed by Rule 404(b).”); see also United

States v. Finn, No. 2:13-cr-0439-KJD-VCF, 2020 U.S. Dist. LEXIS 10999, at *8 (D. Nev. Jan. 23,




                                                 17
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 18 of 24




2020) (holding that defendant’s refusal to file a tax return on profits from charged scheme is

intrinsic evidence that defendant received illegitimate payments from a fraudulent scheme)

       Separately, and in the alternative, this evidence is admissible pursuant to Fed. R. Evid.

404(b) as evidence of the charged wire fraud scheme and money laundering.6 For example, under

Rule 404(b), the government may offer this evidence to demonstrate knowledge that the proceeds

obtained by the defendant and My Big Coin were the result of illegal activity. See, e.g., United

States v. Black, 2014 WL 5783067, at *5 (E.D.N.Y. Nov. 5, 2014) (“[E]vidence of the defendant’s

failure to report significant sums of money in his tax filings is admissible under Rule 404(b) as

evidence of the defendant’s knowledge that the money was the proceeds of illegal activity.”). The

government may also offer this evidence as probative of the defendant’s intent to conceal the

proceeds of fraudulent activity. See, e.g., United States v. Mangual-Santiago, 562 F.3d 411, 429

(1st Cir. 2009) (holding that defendant’s “financial activity, coupled with his failure to report his

income, is indicative of an intent to conceal funds”).

       H. Government’s Response to Defendant’s Motion in Limine to Exclude Unfairly
          Prejudicial References [Dkt. No. 137]

       Defendant cites no authority in support of his request that the government be forbidden to

use the term “victim” in front of the jury. Here, the government does not intend to address the

investor witnesses as victims during the trial, but it may appropriately use the term “victim” at

other times, such as closing argument. Courts have found such a practice to not be unfairly

prejudicial. United States v. Shankle, No. 16-CR-7, 2017 U.S. Dist. LEXIS 228028, at *11 (E.D.



       6
          While the government’s position is that the above-described evidence is intrinsic and does
not fall within the ambit of Fed. R. Evid. 404(b), out of an abundance of caution, the government
provided the defendant early notice of its intent to introduce this evidence at trial through a letter
on December 6, 2021. As such, this evidence should be admitted as intrinsic or, in the alternative,
under Fed. R. Evid. 404(b).

                                                 18
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 19 of 24




Wis. Sep. 1, 2017); United States v. Iacona, 728 F.3d 694 (7th Cir. 2013); see also United States

v. Fletcher, 1995 U.S. App. LEXIS 3939, at *23 (9th Cir. Feb. 24, 1995) (district court did not

abuse its discretion by permitting witnesses to refer to “victims”); United States v. Perez, No.

EDCR1300087AVAP, 2014 U.S. Dist. LEXIS 198353, 2014 WL 12689229, at *9 (C.D. Cal. May

15, 2014) (denying the defendant’s motion in limine seeking to preclude use of the term “victim”

at trial after noting that the term could be fairly used in some circumstances), aff’d, 662 F. App’x.

495 (9th Cir. 2016).

        I. Government’s Response to Defendant’s Motion in Limine to Sequester Witnesses
           and to Exclude Testifying Case Agent(s) from Sitting at Counsel Table [Dkt. No.
           138]

        The government has no objection to the invocation of Rule 615 of the Federal Rules of

Evidence. The government intends to have two agents at counsel table. The government does not

intend to have either of those agents testify at trial. The government does not object to the

exclusion of agents on the government’s witness list from sitting at counsel table.

        J. Government’s Response to Defendant’s Motion in Limine for Production of Law
           Enforcement Notes and Tape Recordings, if any [Dkt. No. 139]

        The government will produce any additional materials addressed by 18 U.S.C. § 3500

material at least 7 days before trial.

III.    OTHER POSSIBLE EVIDENTIARY ISSUES AT TRIAL

        A. Evidence of My Big Coin Social Media Posts Should Be Admitted

        My Big Coin advertised on social media, including on Facebook, Twitter, and YouTube.

While the defendant has stipulated to the authenticity of screen captures of the My Big Coin

website and the defendant’s LinkedIn profile, the defendant has not stipulated to the authenticity

of the Facebook, Twitter, and YouTube social media posts. These social media postings contained

various misrepresentations about My Big Coin, including many of the same misrepresentations

                                                 19
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 20 of 24




made on the My Big Coin website and by the defendant, and as such provide important evidence

of the scheme to defraud.

       The government will authenticate and seek to admit into evidence the Facebook, Twitter,

and YouTube social media posts. The government anticipates authenticating these social media

posts through one or more witnesses that observed the social media posts. Fed. R. Evid. 901(b)(1)

(authentication requirement is satisfied by testimony of a witness with knowledge that “an item is

what it is claimed to be”); see also, e.g., United States v. Blanchard, 867 F.3d 1, 5–6 (1st Cir.

2017) (authenticity established through the “direct testimony of . . . a percipient witness”). As

further support of the relevance and authenticity of these posts, the government will show that the

My Big Coin website and the defendant’s LinkedIn profile—which are stipulated to as authentic—

contain links and specific references to My Big Coin’s Facebook, Twitter, and YouTube pages.

       In addition to satisfying the authenticity and relevance requirements, the social media

postings are not hearsay. They are being offered by the government to show that the statements

were made, and not to prove the truth of the assertions in the social media posts. See Fed. R. Evid.

801(c), Advisory Committee’s Note (“If the significance of an offered statement lies solely in the

fact that it was made, no issue is raised as to the truth of anything asserted, and the statement is

not hearsay.”). As such, this evidence should be admitted.

       B. The Government’s Summary Exhibits of Voluminous Financial Records Should
          Be Admitted

       The government intends to present testimony from a forensic analysist that has reviewed

various financial records, including records of accounts controlled by the defendant. Through that

testimony, the government will seek to admit exhibits that summarize voluminous financial

records. These “summary tools” are admissible “to clarify complex testimony and evidence”

under Rule 1006 of the Federal Rules of Evidence. United States v. McElroy, 587 F.3d 73, 81 (1st

                                                20
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 21 of 24




Cir. 2009); see also United States v. Appolon, 695 F.3d 44, 61-62 (1st Cir. 2012) (affirming

admission of summary exhibits that obviated the need for “the jury to sift through[] mortgage and

sale records for each of the twenty-one properties involved in appellants’ scheme[] and also

facilitated tracing the scheme’s proceeds”); accord United States v. Milkiewicz, 470 F.3d 390, 398

(1st Cir. 2006) (“[P]edagogical devices may be sufficiently accurate and reliable that they, too, are

admissible in evidence, even though they do not meet the specific requirements of Rule 1006.”)

Summary exhibits are admissible either individually or in addition to the underlying records.

Milkiewicz, 470 F.3d at 396–97 (“[W]hile in most cases a Rule 1006 chart will be the only evidence

the fact finder will examine concerning a voluminous set of documents, in other instances the

summary may be admitted in addition to the underlying documents to provide the jury with easier

access to the relevant information.”) (citations omitted). And the government may also elicit

testimony to describe and explain the summary exhibits. McElroy, 587 F.3d at 81 (“[S]ummary

witness testimony may be permitted pursuant to Rule 611(a).”) (citing Milkiewicz, 470 F.3d at

397–98 and United States v. Stierhoff, 549 F.3d 19, 27 (1st Cir. 2008)); Appolon, 695 F.3d at 63

(affirming introduction of summary witness testimony where testimony “was limited to

introducing and explaining the summary charts [the summary witness] prepared”). This evidence

should be admitted.

       C. The Government’s Evidence of Defendant’s Prior Statements as well as
          Statements of Third Parties that Provide Necessary Context for Defendant’s
          Statements Should Be Admitted

       The government will seek to introduce certain statements by the defendant.             These

statements include, for example, oral statements made to witnesses, statements made by the

defendant in written communications, and statements made by the defendant in his response to a

civil complaint filed by the Commodity Futures Trading Commission (see Judicial Notice section,



                                                 21
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 22 of 24




below). The defendant’s statements, if offered by the government, are non-hearsay because they

are statements of a party opponent. Fed. R. Evid. 801(d)(2)(A)).

       The government may also introduce statements, whether oral or written, of by third parties

to provide necessary context or background to understand the defendant’s statements. Evidence

is not hearsay if offered for the limited purposes of providing provide “background” or “context.”

See, e.g., United v. Page, 521 F.3d 101, 106 (1st Cir. 2008); United States v. Catano, 65 F.3d 219,

225 (1st Cir. 1995) (defendant’s part of conversations admissible as non-hearsay admissions of a

party and cooperator’s part of the conversations admissible to place admissions into context and

make them intelligible to the jury); United States v. Castro-Lara, 970 F.3d 976, 981 (1st Cir. 1992).

The same principle applies to emails or other statements that pose questions, issue instructions, or

make suggestions, because such expressions are not offered for the truth of their contents, but

instead to provide context for defendant’s response (or lack of response). See, e.g., United States

v. Vest, 842 F.2d 1319, 1330 (1st Cir. 1988) (noting that a question is not hearsay); United States

v. Murphy, 193 F.3d 1, 5 (1st Cir. 1999) (same, for instructions).7

       D. Defendant May Not Introduce His Own Prior Statements

       Unlike the government, the defendant may not offer or elicit defendant’s prior statements

at trial because those statements are hearsay. United States v. Rivera-Hernandez, 497 F.3d 71, 80

(1st Cir. 2007) (citing Fed. R. Evid. 801, 802). The defendant is not permitted to circumvent this

rule by eliciting defendant’s statements through the cross-examination of other witnesses. United

States v. Bauzo-Santiago, 49 F. Supp. 3d 155, 157 (D.P.R. 2014) (prohibiting defendant from

eliciting defendant’s “out-of-court statement during cross-examination of government witnesses


       7
         The government also reserves the right to introduce certain statements for their truth,
including pursuant to Fed. R. Evid. 801(d)(2)(E), see supra § II.A.

                                                 22
        Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 23 of 24




to impeach the witnesses”) (citing Bemis v. Edwards, 45 F.3d 1369, 1372 (9th Cir. 1995) and

United States v. Hudson, 970 F.2d 948, 956 (1st Cir. 1992)). Further, merely because the

government presents only a subset of defendant’s out-of-court statements, defendant is not entitled

to present her other statements absent a need to avoid “misunderstanding or distortion.” United

States v. Simonelli, 237 F.3d 19, 28 (1st Cir. 2001) (rule of completeness “does not permit the

admission of otherwise inadmissible evidence simply because one party has referred to a portion

of such evidence, . . . rather, it operates to ensure fairness where a misunderstanding or distortion

created by the other party can only be averted by the introduction of the full text of the out-of-

court statement”). As such, the defendant should be precluded from offering his own prior

statements.




                                                      Respectfully submitted,

                                                      RACHAEL S. ROLLINS
                                                      United States Attorney

                                              By:     /s/ Christopher J. Markham
                                                      CHRISTOPHER J. MARKHAM
                                                      Assistant United States Attorney

                                                      /s/ Siji Moore
                                                      SIJI MOORE
                                                      Trial Attorney




                                                 23
       Case 1:19-cr-10063-DJC Document 141 Filed 06/16/22 Page 24 of 24




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed through the ECF system and will be sent
electronically to the registered participants identified on the Notice of Electronic Filing (NEF).


Dated: June 16, 2022                         By:    /s/ Christopher J. Markham
                                                    CHRISTOPHER J. MARKHAM
                                                    Assistant United States Attorney


                                                    /s/ Siji Moore
                                                    SIJI MOORE
                                                    Trial Attorney




                                               24
